  Case 16-07879       Doc 36       Filed 03/28/17 Entered 03/28/17 12:09:45           Desc Main
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                  IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

In Re:                                        )       Case No.: 16-07879
Melanie M Terrell                             )       Chapter 13
                                              )
                       Debtor(s).             )       Judge Timothy A Barnes


                                    NOTICE OF WITHDRAWAL

TO:    Melanie M Terrell, 931 Elder Rd. Apt. 1S Homewood, IL 60430 via US mail
       Trustee Marilyn O Marshall, 224 South Michigan Ste. 800, Chicago, IL 60604, via ECF
       clerk’s electronic delivery system

       U.S. Trustee, 219 S. Dearborn Suite 873, Chicago IL 60604 via ECF clerk’s electronic
       delivery system

       See attached service list



       PLEASE TAKE NOTICE that the Motion to Modify Plan that was to be heard on March
30, 2017 at 10:00 am before the Honorable Judge Timothy A. Barnes at the Dirksen Federal Court,
219 S. Dearborn, Courtroom 744, Chicago, Illinois 60604 is withdrawn.


                                                      By:     /s/ David H. Cutler_
                                                              David H. Cutler

                                    CERTIFICATE OF SERVICE

        I, David H. Cutler, hereby certify that I caused to be served, electronically or through U.S.
Mail, a copy of the foregoing Notice upon the parties named above on March 28, 2017 before the
hour of 5:00 p.m.


                                                      By:     /s/ David H. Cutler
                                                              David H. Cutler, esq.
                                                              Counsel for Debtor(s)
                                                              Cutler & Associates, Ltd.
                                                              4131 Main St.
                                                              Skokie, IL 60076
                                                              Phone: (847) 673-8600
